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[Translator's note: The following sworn testimony is taken from the witness statement by
David Benamou submitted to the Ministry of Justice]

Indicate below the events you witnessed or personally observed:
Paris, June 17, 2024

With this letter, I would like to affirm the strong friendship between my daughter Anna and her friends
Juliette and Eva. Their close friendship developed as early as Petite Section at the Hospitaliere school
in 2017, and has grown stronger over time. In particular, Anna's bond with Juliette is particularly strong,
making Juliette her best friend.

Following Eva and Juliette's return home to Paris after a year without news from the United States, I
had the pleasure of observing the girls' great joy at reuniting during the month of August 2023. We
spent part of the vacation at my home in the Dr6me. It was a very warm reunion after such a long and
worrying absence for my daughter Anna, who was afraid of losing her girlfriends forever.

Indeed, the situation of the girls being so far apart had made me worry about how the children's reunion
would go. Our children's friendship soon reassured me that the distance had not had the impact I had
feared.

In September 2023, the start of the new school year at Ecole Hospitaliere, where Juliette and Anna are
in the same class, also went smoothly.
As a local neighbor, I often had the opportunity to observe Eva and Juliette outside school. They
resumed their many Parisian activities without difficulty. They've reconnected with their close circle and
found their bearings and friends again.
Every morning, Anna and I accompany Juliette to school. During this intimate moment, the girls talk
about their personal lives, and I've noticed that they're much closer than they were a year ago.
School life is punctuated by school parties, where Eva (who attends a different school) is always
present alongside her sister, prolonging the bond with all of their friends from kindergarten. These are
simple moments where their happiness is a joy to behold. The girls feel at home here.
Also, this school on a human scale is ideal for preparing in the best conditions for the always complex
transition to 6th grade. As our daughters will be going to college Charlemagne [middle school] together
in a year's time, they are preparing together (by visiting the campus, for example) to tackle this turning
point as serenely as possible.
Despite these happy moments, I remained sensitive to the balance of the Paris children.
I was s1urprised by the prolonged absence of Heidi, their mother.
Eva and Juliette are part of my daughter Anna's circle of close friends. To cast doubt on this fact is at
best bad faith, at worst a lie.

Their sudden departure for the USA has left us in a state of confusion and dismay.
We haven't heard from them since, and my daughter regularly asks for news of her friends who are no
longer there. She feels very sad. I think my initial concern about Heidi's desire to be far away has
become a reality.
AFFIDAVIT
I, the undersigned (first name, last name): ---'-'-D~a~vi___d~B_e~n~a~m~o~u'"'---_ _ _ _ _ _ _ _ _ _ __
do hereby swear on my honor that the information provided on this form is exact.
Executed in: Paris              on June 17, 2024
[Signature]



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DB LA JUSTICE




                                                               Attestation de temoin
                                             (Articles 200 a 203 du code de procedure civile, article 441-7 du code penal)



: Votra identite : ,


D Madame                                                  ~ Monsieur

                                         Benamou
Votre nom de famille (nom de naissance): - -------------------
Vo tr e nom d'usage (exemple: nom d'epoux / d'epouse) : _ _ _ _ _ _ _ _ _ _ _ _ __
Vos prenoms: _D_a_v_i_d___________________________
Vos date et lieu de naissance: 11_1 81016 I 1191710_1
a Paris
Votre profession: _A_rt_is_te
                           __________________________
Votre adresse : 8 rue de rivoli
                                             -----------------------------
Complement d'adresse: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Code postal 17 1510 10 141                                     Commune:P_a_r_is_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Pays : France


Lien de parente, d'alliance, de subordination, de collaboration ou de communaute d'interets avec
les parties : Oui D          non [gl
Si oui, precisez lequel: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


Sachant que l'attestation sera utilisee en justice et connaissance prise des dispositions de l'article
441-7 du code penal reprimant l'etablissement d'attestation faisant etat de faits materiellement
inexacts ci-apres rappeles :
« Est puni d'un an d'emprisonnement et de 15000 euros d'amende Le fait d'etablir une
attestation ou un certificat faisant etat de faits materiellement inexacts ».
(cette phrase doit etre ecrite, ci-dessous, entierement de votre main) :




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lndiquez ci-dessous les faits auxquels vous avez assiste ou que vous avez constates
personnellement :

Fait a Paris le 17 juin 2024

Par cette lettre, je tiens a affirmer la forte amitie qui lie ma fille Anna a ses amies Juliette et Eva.
Leur complicite s'est developpee des la Petite Section a l'ecole Hospitaliere en 2017, et s'est
renforcee au fil du temps. En particulier, le lien qui unit Anna a Juliette est particulierement fort,
faisant de cette derniere sa meilleure amie.

Apres le retour d'Eva et Juliette chez elle a Paris, apres une annee passee sans nouvelles aux
Etats-Unis, j'ai eu le plaisir d'observer la grande joie qu'ont eu les filles de se retrouver durant
le mois d'ao0t 2023. Nous avons partage une partie de ces vacances dans ma maison dans la
Drome. Ces retrouvailles ont ete empreintes de moment tres chaleureux apres une absence
aussi longue et inquietante pour ma fille Anna qui avait peur de perdre ses copines pour
toujours.

Effectivement, la situation liee a la grande distance des filles avait suscite en moi une certaine
inquietude quant a la fa9on dont les enfants allaient se retrouver. Tres vite, l'amitie de nos
enfants ma rassure sur ce point, l'eloignement n'avait pas eu !'impact que je redoutais.

En septembre 2023, la rentree scolaire a l'ecole Hospitaliere, ou Juliette et Anna sont dans la
meme classe, s'est egalement deroulee de maniere harmonieuse.
En tant que voisin de quartier, j'ai souvent eu !'occasion d'observer Eva et Juliette, hors de
l'ecole. Elles ont repris leurs nombreuses activites parisiennes sans difficulte. Elles ont renoue
avec leur cercle proche et retrouve leurs marques et amis.
Taus les matins, c'est Anna et moi qui accompagnant Juliette a l'ecole. Les filles peuvent lors
de ce moment intime echange sur leur vie personnelle et je constate qu'elles sont bien plus
complices qu'il ya un an.
La vie scolaire est rythmee par les fetes de l'ecole, ou Eva (qui est scolarisee dans un autre
etablissement) est toujours presente aux cotes de sa sreur, prolongeant un lien avec taus leurs
amis de la maternelle. Ce sont des moments simples ou la joie fait plaisir a voir. Les filles se
sentent chez elles dans cet etablissement.
Aussi, cette ecole de taille humaine est ideale pour preparer dans les meilleures conditions
le passage toujours complexe vers la 66 . Comme nos filles iront ensemble au college
Charlemagne dans un an, elles se preparent conjointement (en effectuant la visite du college
par exemple) pour aborder ce virage le plus sereinement possible.
En depit de ces moments de bonheur, je demeurait sensible a l'equilibre des enfants Paris.
Je restait surpris de !'absence prolongee d'Heidi, leur mere.
Eva et Juliette font partie du cercle d'amis proches de ma fille Anna. Mettre en doute cette
realite est au mieux de mauvaise foi, au pire un mensonge.

Leur depart soudain aux USA nous a plonge dans !'incomprehension et le desarrois.
Nous n'avons plus aucunes nouvelles et ma fille reclame regulierement des nouvelles de ses
amies qui ne sont plus la. Elle ressent une grande tristesse. Je pense que mon inquietude
initiale sur l'eloignement souhaite par Heidi soit devenu une realite.

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• Un original ou une photocopied 'un document officiel justifiant de votre identite et
comportant votre signature.


ATTESTATION SUR L'HONNEUR
Je soussigne(e) (prenom, nom): _D_a_v_id_B_e_n_a_m_o_u__________________
certifie sur l'honneur que les renseignements portes sur ce formulaire sont exacts.




Signature




            La Loi n"78-17 du 6 janvier 1978 relative aux fichiers nominatifs garantit un droit d'acces et
               de rectification des donnees aupres des organismes destinataires de ce formulaire.




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